 

Case 2,05-mc-70840-GER ECF No. 5, PagelD.28, 568 RP CRIPTORD RETURN

U.S. Department of Justice
United States Marshals Service

PLAIN TIFF
UNITED STATES OF AMERICA
DEFENDANT

Marcus Mitchell (19-1)

See instructions for “Service af Process hy the US. Marshal”
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COURT CASE NUMBER a

03-80701. Ze 06-1840 v
ce renee re I

TYPE OF PROCESS:

P.0.F. - Attach to assets

 

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, FTC. TO SERVE OR DESCRIPTION G1 PROPRRTY TO SECA OR CONDEMN

SERVE
b Assorted Jewelry

 

AT

AIIDRESS (Seer or APD, Apartnent No, Cly, State, and ZIP Code)

 

 

SEND NOTICG OF SERVICE TO REQUESTER AT NAME AND ADDRESS BELOW: Number ul proccss ta be 1

served wilh wis Form - 285

Rita Foley, ALSA

Assistant United States Attorney
Office of the LIniled States Attomey
271 West Fort St. Suite 2001
Detroil, Michigan 48226

Nuntber of parties to bo served |
in this case

Cheek for service on LSA,

 

 

 

 
 

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EX ce ice Uneluee Business and Abternaie Addfess, 4H TElyphone
Numbers, and Katimalted Times Available Por Service) . in 7 as
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MAR 15 2005 Po % 388
Please attach to defendant property for POF 7 PD 7h
CLERK'S OFFICE-DETROIT-PSG mo waa
Asset# 03-DEA-426928 U.S. DISTRICT COURT Om HR wQw
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a — om
Signature vl Attorney or other Originator requesting service on behalf oF: TELEPHONE NUMBER™ DARA of
_ Fes qt @ PLAINTIFF oe 3/9/ a
PA PS. RFR, _ DEFENDANT | (313) 226-9606 | °

 

 

 

SPACE BELOW FOR USE OF U.S. MARSIIAL ONLY - DO NOT WRITE BELOW TIS LINE

 

Lacknowledge receipt fr the total
number of process indiguled.

(Sig only fest LSM 285 Uf nares dere
vane (ASM 285 ig subevttted)

Talal Process Nistricl of Origin Vistrict te Serve 3/
not Ko wing 3 4k OSs”

T aereby certify and retu that | C1 have personally served, CI have legal evidence of service, YR have execuled as shown in “Remarks”, the process described on ihe
individual, company, corporation, cle. at lhe address shown ubuve or on the individual, compan#, Merporatian, cte., shown at the address inserted below.

Siprpiure of Authorized SMS Boputy or Clerk

 

 

 

 

 

 

 

0 {hereby certify and and rotumn thar | am unable to locute the individual, company, eerparation, ete., named abave (See remarks below).

O

 

Name and title of individual served (ff nat sown above). A porson of suitable age and discretion then

residing in ihe defendunt’s usual place of abode.

 

Address (complete anly if different than shown abeve)

Date of Service

 

 

 

 

Service Fee ‘Total Mileage Charges Forwarding: lee Total Charges Advince Dopoaits Amount Owed ta US Marshal or Amount ur efund
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REMARKS: « JoweLRY FORFETTES ADMINS TRATIVELY BY Neh (4fpAlo.\
Sold fer Poca UL lok. Torre Save: $48,150.00

 

PRIOR EDITIONS MAY
BE USED

}, CLERK OF THE COURT

FORM USM 285 (Rev. 12/15/80} (ie)

 

 

 
